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                 IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA               )      4:20-CR-102
                                       )
v.                                     )
                                       )
TYSHAUN RICHEY                         )

                                     ORDER

      Based upon the motion of the Government, and for good cause shown therein,

the Government’s motion for leave of absence is GRANTED for the following dates:

            a)    May 27, 2021 through and including June 2, 2021, for the purpose

                  of out-of-district personal travel.

            b)    June 24, 2021 through and including June 25, 2021, for the

                  purpose of out-of-district personal travel.

      IT IS FURTHER ORDERED that should a hearing be set during those dates,

a substitute Assistant United States Attorney may handle the matter.

      SO ORDERED, this WK day of May 2021.



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                                       UNITED STATES 0$*,675$7(
                                                           0$*,675$ 5 7( JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
